     USCA Case #24-5101          Document #2112328                    Filed: 04/23/2025     Page 1 of 1

                           UnitedF States
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                                   OR
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                                                ofC Appeals
                                               ISTRICT OF   OLUMBIA   IRCUIT
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No. 24-5101                                                       September Term, 2024
                                                                               1:21-cv-00119-RDM
                                                           Filed On: April 23, 2025 [2112328]
Center for Biological Diversity, et al.,
                   Appellees
         v.
Lee M. Zeldin, in his official capacity as
Administrator for the U.S. Environmental
Protection Agency, et al.,
                   Appellees
State of Florida and Florida Department of
Environmental Protection,
                   Appellants

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Consolidated with 24-5156, 24-5159

                                                 ORDER
       It is ORDERED, on the court's own motion, that the following times are allotted for the
oral argument of these cases scheduled for May 5, 2025, at 9:30 A.M.:
         Appellants/Cross-Appellees
         EPA & State of Florida, et al.                -                10 Minutes (to be divided
                                                                        between appellants/cross-
                                                                        appellees as the parties deem
                                                                        appropriate)
         Appellees/Cross-Appellants
         Center for Biological Diversity               -                10 Minutes
      The panel considering these cases will consist of Circuit Judges Henderson, Wilkins,
and Pan.
       Form 72, which may be accessed through the link on this order, must be completed and
returned to the Clerk's Office by April 25, 2025.
                                                Per Curiam
                                                                 FOR THE COURT:
                                                                 Clifton B. Cislak, Clerk
                                                       BY:       /s/
                                                                 Michael C. McGrail
                                                                 Deputy Clerk
The following forms and notices are available on the Court's website:
         Notification to the Court from Attorney Intending to Present Argument (Form 72)
